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                                                            August 16, 2023

BY ELECTRONIC MAIL AND ECF

The Honorable Mary F. Walrath
United States Bankruptcy Judge
District of Delaware
824 North Market Street, 5th Floor
Wilmington, Delaware 19801

Re:       Youngman, et al. v. Yucaipa American Alliance Fund I, L.P., et al.,
          Case No. 13-50530-MFW

Dear Judge Walrath:
       After many months of negotiating, I am pleased to report that the parties have now executed
a global settlement agreement that will resolve all matters related to the above-refenced adversary
proceeding. The cases will be dismissed upon the effective date of the Settlement, which is
scheduled to occur in September, 2023.
      We will keep the Court apprised of any developments and are available at the Court’s
convenience if it has any questions.
                                                            Respectfully,
                                                            /s/ Seth A. Niederman
                                                            Seth A. Niederman (No. 4588)

cc (via email):
Laura Davis Jones, Esq.
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